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                      GERSTMAN ScttwARTZ LLP
                                 AT T O R N E YS              AT   L AW




                                             June 7, 2022
VIA EMAIL
Richard Sawyer (richard.sawyer@ag.ny.gov)
New York State Office ofthe Attorney General, Civil Rights Bureau
28 Liberty Street
New York, NY 10005

Dear Mr. Sawyer:
       We write on behalfofDefendants in response to the Plaintiff-Intervenor People ofthe State
ofNew York by its At1omey General Letitia James' ("OAG") Request for Admissions ("Request")
issued pursuant to Rule 36 of the Federal Rules of Civil Procedure and dated May 29, 2022. As
explained herein, Defendants reject your Request on the ground that it is untimely, and that
Defendants have no obligation to provide a response.
       Requests for admission issued pursuant to Fed. R. Civ. P. 36 are a discovery device. As the
court explained in Revlon Consumer Prods. Corp. v. Estee Lauder Cos., 200 l WL 521832, at * I
(S.D.N.Y. May 16, 2001):
               [t]here should be no doubt that Requests for Admissions pursuant to
               Fed.R.Civ.P. 36 are a discovery device, from (I) the placement of
               Rule 36 in the section of the Federal Rules of Civil Procedure
               labeled "V. Depositions and Discovery," (2) the provision in Rule
               36 that Requests for Admissions "may not be served before the time
               specified in Rule 26(d)," which section is entitled "Timing and
               Sequence of Discovery," (3) language in the Advisory Committee
               Notes to Rule 36 (1970 and 1993 Amendments) that makes clear
               that Rule 36 is part of"discovery procedures" and "discovery rules,"
               and (4) the ability to impose sanctions under Rule 37 (entitled
               "Failure to Make Disclosure or Cooperate in Discovery") for
               violations of Rule 36. Clearly, Requests for Admissions are a
               discovery device and are covered by the discovery cut-off date.

Accord, Gluck v. Ansell Australia Ltd., 204 F.R.D. 217, 219 (D.D.C. 2001).
        As discovery devices, requests for admission are subject to fact discovery deadlines. See
Onrat Keawsri v. Ramen-Ya Inc., 2022 U.S. Dist. LEXIS 81993 (S.D.N.Y. May 5, 2022); Fournier
v. Erickson, 242 F.Supp.2d 338, 344 (S.D.N.Y. 2003) ("Requests for admissions pursuant to Rule
36 of the Federal Rules of Civil Procedure are generally bound by fact discovery deadlines.").
Brett v. 44th Street Restaurant, LLC, 2016 WL 11774304, at *4 (S.D.N.Y. Oct. 13, 2016).
Requests for admission served after the close of discovery are untimely, and no response is

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